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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

 COMERICA BANK                                     Case No.:   24-10963
     Plaintiff

 vs.

 FEDERAL RESERVE BANK
 OF ATLANTA
      Defendant


                                       COMPLAINT

Plaintiff Comerica Bank (“Comerica”) complains against defendant Federal

Reserve Bank of Atlanta (“FRB Atlanta”) as follows:

                         PARTIES – JURISDICTION – VENUE

1.     This court has subject matter jurisdiction over this action for money damages

       because Comerica’s claim arises under the laws of the United States. 28 USC

       1331; 12 USC 632; 12 CFR 210.6.

2.     Comerica seeks money damages for FRB Atlanta’s breach of warranty that it

       made as a matter of law when it presented check # 167842 (the “Check”) to

       Comerica for payment. (Exhibit 1 is an image of the Check).

3.     Comerica is a banking association organized under Texas law and conducts

       business operations in this judicial district.

4.     FRB Atlanta is a federal corporation organized under United States law.

5.     Venue is proper in this district because a substantial part of the events or
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     omissions giving rise to the action occurred here. See 28 USC 1391 and other

     venue statues. Comerica conducts banking operations at its Livonia

     Operations Center where it processes checks drawn on Comerica customer

     accounts – including the Check – upon presentment.

             BREACH OF WARRANTY CLAIM: CHECK # 167842

6.   At all times relevant to this action, Great Lakes Wine & Spirits LLC (“Great

     Lakes Wine”) has been a Comerica deposit customer.

7.   For years FN Cellars, LLC, which operates out of Oakville, California, had

     been a regular seller of goods to Great Lakes Wine for which it had been paid

     by check. In its dealings with Great Lakes Wine, this vendor regularly goes by

     its trademarked name “Far Niente.” (Exhibit 2, other checks to “Far Niente”).

8.   On March 4, 2022, Great Lakes Wine drew the Check against its Comerica

     account payable to the order of “Far Niente” in the amount of $183,123.00.

     (Exhibit 1, the Check).

9.   Great Lakes Wine mailed the Check to Far Niente’s address as a combined

     payment on three invoices, 2044870, 2045114, and 204394. (Exhibit 3).

10. “Far Niente” was Great Lakes Wine’s intended payee on the Check within the

     meaning of Section 3-110(a) of the Uniform Commercial Code.

11. Sometime between March 4, 2022 and April 11, 2022, under circumstances

     presently unknown to Comerica, a fraudster intercepted the Check and then

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    misappropriated its proceeds by means of the scheme alleged below:

       a. On April 11 (38 days after Great Lakes Wine issued the Check),

          someone formed a new entity in Missouri named “Far Niente LLC.”

          (Exhibit 4). There was no connection between this sham entity and

          Great Lakes Wine’s vendor and intended payee on the Check.

       b. On April 12, the new Missouri entity “Far Niente LLC” opened two

          new accounts at Neighbors Credit Union (“NCU”) (see Exhibit 5,

          account statement referencing “NEW ACCT”).

       c. On April 13, NCU accepted the Check for deposit into one of Far

          Niente LLC’s new accounts over a fraudulent handwritten endorsement.

          (Exhibit 1).

       d. On April 14, NCU transferred the Check for forward collection to FRB

          Atlanta. FRB Atlanta in turn presented an electronic image of the

          Check to Comerica. Comerica paid the Check in good faith on April 14.

       e. By April 25, Far Niente LLC had withdrawn from NCU all but $16 of

          the funds traceable to the proceeds of the Check. (Exhibit 5).

12. On information and belief, Great Lakes Wine’s intended payee “Far Niente”

    neither: (a) received nor endorsed the Check, (b) ever had any interest in the

    account at NCU into which the Check was deposited, nor (c) received any

    proceeds or benefit from the Check transaction. (Exhibit 6).

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13. On or about May 18, 2022, Great Lakes Wine notified Comerica that the

    Check was not properly payable against its Comerica account.

14. On May 20, 2022, Great Lakes Wine issued Far Niente a replacement check

    (# 169383) for $183,123.00, which Far Niente cashed. (Exhibit 7).

15. Before filing this action, Comerica unsuccessfully demanded payment from

    NCU. (Exhibit 8, cover letter accompanying demand).

16. NCU denied the claim even though Missouri Secretary of State public records

    show conclusively that “Far Niente LLC” was formed on April 11, more than

    six weeks after the Check had been drawn on March 4. This Missouri entity,

    therefore, could not have been the intended payee on the Check.

17. The Check was not endorsed as drawn.

18. The Check was not deposited to an account in the name of the intended payee.

19. When it transferred the Check to FRB Atlanta, NCU was neither entitled to

    enforce the Check nor authorized to collect on behalf of a person entitled to

    enforce the Check.

20. NCU breached its transfer and other warranties regarding the Check

    transaction.

21. NCU’s transfer of the Check to FRB Atlanta neither entitled FRB Atlanta to

    enforce the Check nor authorized it to collect on behalf of a person entitled to

    enforce the Check.

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22. When FRB Atlanta presented an electronic image of the Check to Comerica

     for payment, it warranted as a matter of law under 12 CFR 210.6 as follows:

      (b) Warranties and liability. The following provisions apply when a Reserve
      Bank presents or sends an item.
          (1) Warranties for all items. The Reserve Bank warrants to a subsequent
          collecting bank and to the paying bank and any other payor that – (i)
          The Reserve Bank is a person entitled to enforce the item (or is
          authorized to obtain payment of the item on behalf of a person that is
          either entitled to enforce the item or authorized to obtain payment on
          behalf of a person entitled to enforce the item); *** (iii) The item bears
          all indorsements applied by parties that previously handled the item for
          forward collection or return.

23. FRB Atlanta breached its duties and warranties under 12 CFR 210, including

     the warranties in 12 CFR 210.6(b), and thereby damaged Comerica.

24. FRB Atlanta is liable to Comerica for damages consisting of the face amount

     of the Check, plus expenses of litigation, attorney fees, costs and interest.

                                RELIEF REQUESTED

Plaintiff Comerica Bank requests entry of a money judgment against defendant

Federal Reserve Bank of Atlanta in the amount of $183,123.00, plus compensation

for expenses of litigation, attorney fees, costs, and interest.

 /s/ David Wells                             /s/ Henry Stancato
 For Plaintiff Comerica Bank                 For Plaintiff Comerica Bank
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 P47588                                      P29538


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                         COMPLAINT EXHIBITS

   1     Check # 167842 ($183,123.00)

   2     Other checks payable to intended payee, Far Niente

   3     Far Niente invoices supporting Check # 167842

   4     Far Niente LLC filings in with the Missouri SOS

   5     Far Niente LLC account statement from Neighbors Credit Union

   6     Far Niente’s Statement of Fraud

   7     Replacement check # 169383 to Far Niente ($183,123.00)

   8     Comerica’s claim letter to Neighbors Credit Union




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                                     OUTGOING COLLECTION LETTER                 Type:       Without Entry
                                                 @Comerica.com                            IMPROPER
                                                                                Claim:
                                                                                          ENDORSEMENT
                                                                                Clerk:    Marie Puma




OUR CUSTOMER: GREAT LAKES WINE &                                            Reference # 23012851566
                   SPIRITS LLC
                                                                                          1/25/2023


     TO:       Neighbors Credit Union
               Attn Check Fraud Investigations                      MAIL             COMERICA BANK
               6300 So Lindbergh                                    PAYMENT TO:      Attn: Return Without Entry
                                                                                     P.O. BOX 675403
               Mehlville, MO 63123                                                   DETROIT, MI 48267-5403


                                                                 REMIT $183,123.00

COMMENTS: IMPROPER ENDORSEMENT CLAIM FOR CHECK #167842
